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                                Exhibit
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                                                                      P-B000002
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                                                                      P-B000003
   Case
2013    0:17-cv-60426-UU
     FLORIDA              Document
             PROFIT CORPORATION    83-4REPORT
                                ANNUAL  Entered                                                                  on FLSD Docket 11/01/2017
                                                                                                                                       FILEDPage 5 of 27
DOCUMENT# P09000064327                                                                                                                                  Mar 31, 2013
Entity Name: WEBZILLA INC.                                                                                                                            Secretary of State
                                                                                                                                                       CC2520604035
Current Principal Place of Business:
110 E. BROWARD BLVD.
SUITE 1700
FORT LAUDERDALE, FL 33301


Current Mailing Address:
110 E. BROWARD BLVD.
SUITE 1700
FORT LAUDERDALE, FL 33301

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: No
Name and Address of Current Registered Agent:
INCORPORATE NOW
6750 N. ANDREWS AVE.
SUITE 200
FORT LAUDERDALE, FL 33309 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHRA, RAJESH KUMAR                                                            Name                   BEZRUCHENKO, KOSTYANTYN
Address                110 E. BROWARD BLVD, STE 1700                                                   Address                110 E. BROWARD BLVD, STE 1700
City-State-Zip:        FT. LAUDERDALE FL 33301                                                         City-State-Zip:        FT. LAUDERDALE FL 33301




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: RAJESH KUMAR MISHRA                                                                                          D                                                   03/31/2013
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date




                                                                                                                                                                         P-B000004
   Case
2014    0:17-cv-60426-UU
     FLORIDA              Document
             PROFIT CORPORATION    83-4REPORT
                                ANNUAL  Entered                                                                  on FLSD Docket 11/01/2017
                                                                                                                                       FILEDPage 6 of 27
DOCUMENT# P09000064327                                                                                                                                  Jan 17, 2014
Entity Name: WEBZILLA INC.                                                                                                                            Secretary of State
                                                                                                                                                       CC6369791148
Current Principal Place of Business:
2777 STEMMONS FWY.
 SUITE 1655
DALLAS, TX 75207


Current Mailing Address:
2777 STEMMONS FWY.
SUITE 1655
DALLAS, TX 75207 US

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: No
Name and Address of Current Registered Agent:
INCORPORATE NOW
6750 N. ANDREWS AVE.
SUITE 200
FORT LAUDERDALE, FL 33309 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHARA, RAJESH KUMAR                                                           Name                   BEZRUCHENKO, KOSTYANTYN
Address                2777 STEMMONS FWY.                                                              Address                2777 STEMMONS FWY.
                       SUITE 1655                                                                                              SUITE 1655
City-State-Zip:        DALLAS TX 75207                                                                 City-State-Zip:        DALLAS TX 75207




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: MISHARA , RAJESH KUMAR                                                                                       D                                                   01/17/2014
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date




                                                                                                                                                                         P-B000005
   Case
2015    0:17-cv-60426-UU
     FLORIDA              Document
             PROFIT CORPORATION    83-4REPORT
                                ANNUAL  Entered                                                                  on FLSD Docket 11/01/2017
                                                                                                                                       FILEDPage 7 of 27
DOCUMENT# P09000064327                                                                                                                                  Feb 04, 2015
Entity Name: WEBZILLA INC.                                                                                                                            Secretary of State
                                                                                                                                                       CC5122993276
Current Principal Place of Business:
2777 STEMMONS FWY.
 SUITE 1655
DALLAS, TX 75207


Current Mailing Address:
2777 STEMMONS FWY.
SUITE 1655
DALLAS, TX 75207 US

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: No
Name and Address of Current Registered Agent:
INCORPORATE NOW
6750 N. ANDREWS AVE.
SUITE 200
FORT LAUDERDALE, FL 33309 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHARA, RAJESH KUMAR                                                           Name                   BEZRUCHENKO, KOSTYANTYN
Address                2777 STEMMONS FWY.                                                              Address                2777 STEMMONS FWY.
                       SUITE 1655                                                                                              SUITE 1655
City-State-Zip:        DALLAS TX 75207                                                                 City-State-Zip:        DALLAS TX 75207




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: MISHARA , RAJESH KUMAR                                                                                       D                                                   02/04/2015
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date




                                                                                                                                                                         P-B000006
   Case
2016    0:17-cv-60426-UU
     FLORIDA              Document
             PROFIT CORPORATION    83-4REPORT
                                ANNUAL  Entered                                                                  on FLSD Docket 11/01/2017
                                                                                                                                       FILEDPage 8 of 27
DOCUMENT# P09000064327                                                                                                                                  Feb 23, 2016
Entity Name: WEBZILLA INC.                                                                                                                            Secretary of State
                                                                                                                                                       CC6838461702
Current Principal Place of Business:
2777 STEMMONS FWY.
 SUITE 1655
DALLAS, TX 75207


Current Mailing Address:
2777 STEMMONS FWY.
SUITE 1655
DALLAS, TX 75207 US

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
INCORPORATE NOW
6750 N. ANDREWS AVE.
SUITE 200
FORT LAUDERDALE, FL 33309 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHARA, RAJESH KUMAR                                                           Name                   BEZRUCHENKO, KOSTYANTYN
Address                2777 STEMMONS FWY.                                                              Address                2777 STEMMONS FWY.
                       SUITE 1655                                                                                              SUITE 1655
City-State-Zip:        DALLAS TX 75207                                                                 City-State-Zip:        DALLAS TX 75207




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: MISHARA , RAJESH KUMAR                                                                                       D                                                   02/23/2016
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date




                                                                                                                                                                         P-B000007
   Case
2017    0:17-cv-60426-UU
     FLORIDA              Document
             PROFIT CORPORATION    83-4REPORT
                                ANNUAL  Entered                                                                  on FLSD Docket 11/01/2017
                                                                                                                                       FILEDPage 9 of 27
DOCUMENT# P09000064327                                                                                                                                  Apr 30, 2017
Entity Name: WEBZILLA INC.                                                                                                                            Secretary of State
                                                                                                                                                       CC9290772252
Current Principal Place of Business:
2777 N STEMMONS FWY.
 SUITE 1655
DALLAS, TX 75207


Current Mailing Address:
110 E. BROWARD BLVD.
SUITE 1700
FORT LAUDERDALE, FL 33301 US

FEI Number: NOT APPLICABLE                                                                                                   Certificate of Status Desired: No
Name and Address of Current Registered Agent:
INCORPORATE NOW INC
512 LUCERNE AVE
LAKE WORTH, FL 33460 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: CONSTANTIN LUCHIAN                                                                                                                                               04/30/2017
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  D                                                                               Title                  D
Name                   MISHARA, RAJESH KUMAR                                                           Name                   BEZRUCHENKO, KOSTYANTYN
Address                2777 STEMMONS FWY.                                                              Address                2777 STEMMONS FWY.
                       SUITE 1655                                                                                              SUITE 1655
City-State-Zip:        DALLAS TX 75207                                                                 City-State-Zip:        DALLAS TX 75207




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: RAJESH KUMAR MISHARA                                                                                         D                                                   04/30/2017
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date




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                                                                      P-B000040
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                                                                      P-B000042
